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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISON

   IN RE:

   JAMES EDWARD CARTER, IV                     :      CHAPTER 11
                                               :
                   Debtor.                     :      CASE NO.: 18-68479-pmb
                                               :


                                WITHDRAWAL OF DOCUMENT


            Comes now, Howard P. Slomka, counsel for the above Debtor, and files this Withdrawal

   of the previously filed Application for Order Granting Conditional Approval of Disclosure

   Statement (Doc. 38).


            This 28th day of March, 2019.



                                                              _____/s/_______
                                                              Howard P. Slomka, Esq.
                                                              Attorney for Debtor
                                                              Georgia Bar No. 652875
                                                              2859 Paces Ferry Road, SE
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                                                              hs@atl.law (e-mail)
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   IN RE:

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                                              :


                                  CERTIFICATE OF SERVICE


          This is to certify that I have this day served a copy of the within and Withdrawal of
   Document, in the above styled case by depositing same in the United States mail with the
   adequate postage affixed thereto to insure delivery addressed as follows:


            SEE ATTACHED LIST FOR CREDITORS



            This 28th day of March, 2019.



                                                             _____/s/_______
                                                             Howard P. Slomka, Esq.
                                                             Attorney for Debtor
                                                             Georgia Bar No. 652875
                                                             2859 Paces Ferry Road, SE
                                                             Suite 1700
                                                             Atlanta, Georgia 30339
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